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Case 3:23-cv-00198-G-BH Document 2 Filed 01/26/23 Hage krpeRN DISTRIOTLOF TEXAS

 

 

 

 

 

 

 

 

 

PRISONER’S CIVIL RIGHTS COMPLAINT (Rev. 05/2015) FILED
IN THE UNITED STATES DISTRICT COURT 26 0999
FOR THE NORTHERN DISTRICTOF TEXAS | JAN abee
DALLAS ____séDIVISION
CLERK, U.S. DISTRICT COURT
MICHAEL G. PETERS #2019190 By,
Plaintiff’s Name and ID Number eputy
Stringfellow Unit
Place of Confinement 3 - 2 3 Cc VY (} 1 9 R G
CASE NO.

 

(Clerk will assign the number)
Vv.

TEXAS DEPT. OF CRIMINAL JUSTICE
Defendant’s Name and Address

 

DIRECTOR, BOBBY LUMPKIN
Defendant’s Name and Address

 

STATE OF TEXAS

Defendant’s Name and Address
(DO NOT USE “ET AL.”)

 

 

INSTRUCTIONS - READ CAREFULLY
NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
IDE OR BA IDE OFANY PAGE, ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID) , the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

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FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to file a NOTICE OF THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:

A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? X_YES___NO
B. If your answer to “A” is “yes”, describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)
1. Approximate date of filing lawsuit: _UNKNOWN

2. Parties to previous lawsuit:
Plaintiff(s) MICHAEL G. PETERS

Defendant(s) STATE OF TEXAS

 

 

Court: (If federal, name the district; if state, namé the county.) U-S. SOUTHERN

Cause number: _UNKNOWN

 

Name of judge to whom case was assigned: _ UNKNOWN

Disposition: (Was the case dismissed, appealed, still pending?) PENDING

Aa SS

Approximate date of disposition: UNKNOWN

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IV.

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PLACE OF PRESENT CONFINEMENT: _STRINGFELLOW UNIT

EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted all steps of the institutional grievance procedure? X YES __NO

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

PARTIES TO THIS SUIT:
A. Name and address of plaintiff; MICHAEL G. PETERS #2019190
1200 FM 655

ROSHARON, TEXAS 77583

 

B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1: TEXAS DEPT. OF CRIMINAL JUSTICE AND BRIAN COLLIER

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

VIOLATED MY R.L.U.I.P.A. AND CONSTITUTIONAL RIGHTS TO RELIGIOUS EX-
ERCISE» AND FORCED FASTINGS. DISCRIMINATION.
Defendant #2: T.D.C.J. DIRECTOR: BOBBY LUMKIN

 

Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
VIOLATED MY R.L.U.I.P.A. AND CONSTITUTIONAL RIGHTS TO RELIGIOUS EX-

ERCISE, AND FORCED FASTINGS. DISCRIMINATION
Defendant #3: STATEOF TEXAS

 

Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.

VIOLATED MY R.L.U.I.P.A. AND CONSTITUTIONALRIGHTS TO RELIGIOUS EX-
ERCISE, AND FORCED FASTINGS. DISCRIMINATION
Defendant #4: RABBI DOVID GOLDSTEIN [CHABAD OUTREACH] 11000 FONDERN,

SUITE NO. B-104, HOUSTON, TEXAS 77096 (713) 774-0300

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
VIOLATED MY R.L.U.I.P.A. AND CONSTITUTIONAL RIGHTS TO RELIGIOUS EX-

ERCISE,: AND FORCED FASTINGS. DISCRIMINATION
Defendant #5: STRINGFELLOW UNIT CHAPLAIN [HIGHTOWER]

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
VIOLATED MY R.L.U.I.P.A. AND CONSTITUTIONAL RIGHTS TO RELIGIOUS EX-
ERCISE, AND FORCED FASTINGD. DISCRIMINATION

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VI.

VIL.

VILL.

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STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,

when did it happen, and who was involved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number

and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY

STRIKE YOUR COMPLAINT.

The Plaintiff seeks [Relief of Litigants] against the Defendant(s)

to hold in contempt and enforcement against the defendant(s) and it's
agents the judgement of Moussazadeh, 709 F.3d 487; (2013) U.S. App.
LEXIS 8529: See Cruz vs. Beto, 405 U.S. 319, 322 n.2 92 S.Ct. 1079;

 

 

Washington vs. Klem, 497 F.3d at 280; accord Lovelace vs. Lee, 472 F,

3d_174, 187; Jolly vs. Coushlin, 76 F.3d 468, 477 (quoting) Thomas_vs.
Review Board of Indianna Employment Serv. Division, 450 U.S. 707, 718,
101 S. Ct. 1425 [First Amendment Case]: accord vision Church vs, Vil-
lage of Long Grove, 468 F. 3d 975, 997, cert. denied, 128 S. Ct. 77:

See Attached:
RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.

Award damages; order a D.N.A. test; order T.D.C.J. to grant entry into

the Jewish Program and order Plaintiff's lineage to prove he is Jewish.

Allow the purchase of tennis shoes, and stop forced fastings.
GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and all aliases.
unknown

 

B. List all TDCJ-CID identificaiton numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

2019190, unknown

 

SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? X YES NO

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

1. Court that imposed sanctions (if federal, give the district and division): U.S. Southern

2. Case number: unknown
3. Approximate date sanctions were imposed: unknown
4

. Have the sanctions been lifted or otherwise satisfied? X YES NO

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C. Has any court ever warned or notified you that sanctions could be imposed? ES NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning was issued.
(If more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division): U-S. Southern

2. Case number; Unknown

 

3. Approximate date warning was issued: Unknown

Executed on: ¢ VY-O/K-. F
DATE

    

(Signatfire of Plamtiff)

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. I understand, if I am released or transferred, it is my responsibility to keep the court informed of my

current mailing address and failure to do so may result in the dismissal of this lawsuit.

I understand I must exhaust all available administrative remedies prior to filing this lawsuit.

4. Lunderstand I am prohibited from brining an in forma pauperis lawsuit if I have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury.

5. Iunderstand even if] am allowed to proceed without prepayment of costs, I am responsible for the entire

filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

=

Signed this A EZ day ot OILY , 20 ZS
(Day) (month (year)

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WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

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CERTIFICATE OF SERVICE

Comes now the Plaintiff; MICHAEL GEOFFREY PETERS who states that a
true and correct copy of this 1983 Civil Action was send to the De-
fendant(s) via their attorney; KEN PAXTON at the following address:

Texas Attorney General's Office
C/O KEN PAXTON

P.O. Box 12548

Austin, Texas 78711-2548

All Defendant(s) are agents of the State of Texas and are mentioned
in said Civil Action as Defendant(s) in this action, and were notified
on January 1, 2023.

Respectfully submitted

ichae
DATED: January 5, 2023

MICHAEL GEOFFREY PETERS NO 2019190
STRINGFELLOW UNIT

1200 FM 655

ROSHARON, TEXAS 77583
 

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ATTACHED

Midrash and Sephard Inc. vs. Town of Surfside, 366 F.3d 1214, 1227,

pertaining to "Substancial Burdens" on Religious rights. Plaintiff

 

asserts that in accordance with 18 U.S.C. Sec. 401; Power of Courts
(1),(2) & (3), the Court has inherent power to enforce compliance with
[its] lawful orders through Civil Contempt and Criminal Contempt laws.
See: 18 U.S.C. 402 Contempts constituting crimes in conjunction with
Rule 70 enforcing a judgement for:

(a) Party's failure to act, ordering another to act.

(b) Holding in Contempt.

Plaintiff asserts that per 18 U.S.C. Sec. 3626 (a)(1)(BJi-iii)(c)(2),
to prevail on motion for civil contempt. The Movant must prove by clear
and convincing evidence that the non-Movant violated a Court Order.

See: Jones - ELV Berge, 374 F.3d 541, 545; Marion County Jail Inmates
vs. Anderson, 270 F. Supp. 2d 1034, 1036-37 cf: eg. Hadix, 465 F. Supp.
2d 776 (2006) U.S. Dist. LEXIS 88696 F.T.C.V. Kuykendall, 371 F.3d/745
American Rivers et.al vs. Army Corps of Engineering, 274 F. Supp. 2d
62.

 

 

I.

Plaintiff further asserts Rule 70(a) Fed. R. Civ. P. provides that

if a Party fails to preform a specific act required by a judgement
the Court may order the act to be done at the disobedient parties ex-
pense by another person appointed by the Court. Gilbert vs. Johnson,
718 F. 2d 1350. See also: Gary W. vs. State of La., 622 F. 2d 804,
806, citing; Gates vs. Collier, 616 F.2d 1268. Hence Civil remedies
serve two purposes:

 

 

(1) To coerce the judgement violator(s) into compliance with the
Court Order and/or

(2) To compensate a party for losses or damages caused by the others
Party's violation of the order.

(1).

 
 

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See: Int'l Union of United Mine Workers of Am vs. Bagwell, 512 U.S.
821, 829, 114 S.Ct 2552; U.s. vs. United Mine Workers, 330 U.S.

258. 303-04, 67 S. Ct 677. Courts have broad discretion to enter ord-
ers to make sure a prior order is carried out or it's purposes are
accomplished. McComb vs. Jacksonville Paper Company, 336 U.S. 187,
193-94,69 S.Ct 497; EEOC vs. Local 580 International Assn. of Bridge
Structure and Ornamental iron Workers, 925 F. 2d 588, 595; Carty vs.
Turnbull, 144 F. Supp. 2d 395, 418. See: Newman vs. State of Alabama,
683 F. 2d 1312 (11th Cir. 1982) quoting that non complying party's

may be imprisoned.

Il.

FACTUAL PROCEDURAL HISTORY OF THE CASE

Plaintiff asserts that upon his induction and incarceration into

the Texas Dept. of Criminal Justice he made it known to prison staff
when asked his religion that he was ["Jewish"] by faith and race.

This was assigned to the plaintiff's [Travel Card] and put into his
perminant prison file. At no time in the Plaintiff's incarceration
has he ever been allowed to exercise or pratice his religious tenets.
He was forced to sue the Texas Dept- of criminal Justice for ("Kosher")
meals, Case No. 6:17-cv-595 and was ordered transfered to the String-
fellow Unit where the Kosher Kitchen is located. The original civil
action entailed both meals and Religious Services but was later am-

memded without plaintiff knowing to just meals.

Lite

The Stringfellow Rabbi, Dovid Goldstein strickly forbid the plaintiff
from joining the ["Jewish Program"] as he had not proven he was a jew.
This violated plaintiff's Constitutional First Amendment rights as
well as his religious rights under the Religious Land Use and In-
stitutional Persons Act [R.L.U.I.P.A.]. The Plaintiff does not have
family on the out side of the prison and thus nobody to aid or help

him present the proof or evidence that he is jewish.

 

 
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IV.

The Plaintiff asserts that he is jewish both by religious pratice
and by blood he is of the Jewish race of people, thus entitling him
to Isreal citizenship under Jewish laws. At the Stringfellow Unit
there are currantly fourteen (14) members of the Jewish Community
and only half are Jewish. Rabbi Goldstein has hand selected some

to be member's he thinks will later convert to Judisum. No conver-
Sions are done at the prison level. By rights both due to my lineage
and Jewish blood as well as under the R.L.U.I.P.A. and the First
Amendmant to the U.S. Constitution the Plaintiff has an inherent
right to not only "be" jewish but also to pratice and exercise his

Jewish Religious tenets.

V.

The Plaintff has suffered for eight and ahalf (8-1/2) years without
being allowed to participate or pratice his religion. This in part
is due to Plaintiff's ["Actual Innocence"] and being a Texas State
Political Prisoner; one who must be silenced and the Anti-Semitism
of the state and it's agents. Rabbi Goldstein is an (Orthodox) jew
while the Plaintiff is an Ashkenazic (Reform) jew. Rabbi Goldstein
wants everyone in the Jewish Program to be Orthodox. The prejudice
of the defendant(s) toward the Plaintiff can be seen by the fact
only half the Jewish Program under Rabbi Goldstein are jewish and
even though Plaintiff is Jewish by blood and race, he is discrem-
inated against because he was forced to file a civil action for
kosher meals in Rabbi Goldstein's Jewish Program and he took offense

to it. Again the Plaintiff had to file a civil action to Religious
Services in Supreme Court cases: #21-40483 and #21-20444 both dis-
missed due to political reasons.

VI.

The Plaintiff also asserts that the defendant(s) Per Policy and
Procedures have created a "Substancial Burden" on the exercise of

the Plaintiff's Religious Freedom and violated his First Amendment

 

 
 

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to the United States Constitution and 42 U.S.C. Sec. 2000 cc et.seq.
Plaintiff was barred participating in all Jewish tenets for the
past eight and ahalf (8-1/2) years and was forced to seek psy-
chological help due to severe depression and has been taking med-
ications to help control depression brought on by his ("Actual
Innocence") and denial of all rights to pratice his religion at

a time of induce helplessness and dispare. The denial of Plaintiff's
Constitutional rights to pratice his religion compounded his pain
and sufferings due to his intentional wrongful imprisonment to

have him silenced for exposing political crimes and collusion by
[X3] and has caused his mental and emotional anguish and sufferings
that have affected his physical condition and mental health.

VII.

The Defendant(s) discrimination against the Plaintiff has endangered
his health and mental state as well as caused his depression that
has been compounded by [X3] due to the violations of his Religious
rights. See: T.D.C.J. Travel Card and T.D.C.J. Chaplaincy Jewish um-
brella. A (minyan) is not possible as per Jewish law and tradition.
The (weekly) Sabbath and Annual convocation involves Torah and a

Minyan in which a gathering of no less than ten (10) persons over
the age of thirteen (13) of Jewish faith must gather. Without both
Torah and a Minyan "any service" that would be provided for Jewish

belivers is characterized as "nothing."

VIII.

The Pesch Sedar is a family celibration of great religious significa-
ce to belivers in the Jewish faith. In the sense that concepts of
community and family are central to Judism. See: Whitney vs. Brown,
882, F. 2d 1068. Further the Plaintiff has been denied all Jewish
Holy day celibrations for the past (8-1/2) years. This includes but
is not limited to the following:

1. Fast of 10th of Tevet (12-14-2021)
2. TuB' Shevat (01-17-2022)

 

 
 

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3. Fast of Esther (03-16-2022)

4 Purim (03-17-2022)

5. Fast of the Firstborn (04-15-2022)
6. Passover (04-16-17-2022)

7 LagBe' Qmer (05-19-2022)

8 Shavot (06-5-6-2022)

9. Fast of the 17th of Tammuz (05-17-2022)
10. Fast of the 9th of Av. ()8-07-2022)
11. Rosh Hashanah (09-26-27-2022)

12. Fast of Gedalish (09-28-2022)

13. Yom Kippur (09-25-2022)

14. Sukkot (10-11-2022)

15. Shemini Atzeret (10-17-2022)

16. Simchat Torah (10-18-2022)

17. Chanukah (12-19-26-2022)

At no time has the Defendant(s) recconized the Plaintiff's Jewish
Religious rights to attend, pratice or celibrate any of these tenets.
Their denial of the Plaintiff's Religious rights has continued from
day to day and from year to year for the past eight and ahalf (8-1/2)
years, causing the Plaintiff to grieve and suffer daily and has
severally impacted his unjust punishments, suffering and mental

and emotional anguish which has resulted in Plaintiff's taking anti-
depressants and having to consult with the Stringfellow Unit's

Psychiatrist.

IX.

R.L.U.I.P.A.
RELIGIOUS LAND USE AND INSTITUTIONALIZED PERSONS ACT

The Plantiff further asserts that the Court decree of 826 F.3d 285
(quoting)(Cutter vs. Wilkenson, 544 U.S. 709, 716-17, 125 S. Ct
2113, 161 L. Ed 2d 1020 Congress enacted the R.L.U.I.P.A. to add-
ress "frivolous or arbituary barriers" impeding institutionalized
persons religious exercise, but expected courts entertaining the

R.L.U.I.P.A. challeges to also accord due diffrence to the experien-
ce and expectise of Prison and Jail Administrators; (quoting) 146

5

 

 
 

 

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Congress Rec.16696, 16699 (2000)(Joint Statement of Senators Hatch

and Kennedy on R.L.U.I.P.A. Religious Accommodations must not over-
ride other significant interests in maintaining order and safety.
Courts should give deference to prison officials in establishing
necessary regulations and procedures to maintain good order, secur-
ity and disiplain consistant with considerations and costs and limit--
ed resorces; ID at 773.

Xe

The Plaintiff agrees, however the deference is not unlimited and pol-
icies grounded on mere speculation, exaggervations and fear or post-
hoc realizations will not surfice to meet the Acts Requirement. See:
e.g. Rich vs. Ser'v Florida Dept. of Corr., 716, F.3d 525, 533 (11th
Cir. 2013)(quoting) 2016 U.S. App. LEXIS 715 Rep. No. 103-111 of the
Religious Freedom Restoration Act (R.F.R.A.) predecessor to R.L.U.
I.P.A..°See also: Holt vs. Hobbs, 135 S. Ct 853, 867, 170 L. Ed 747
(2015)("indeed prison policies grounded on mere speculation are ex-
actly the ones that motivated Congress to enact R.L.U.I.P.A.. See:
Tucker vs. Collier, 906 F. 3d 295, 2018 U.S. App. LEXIS 28028 No. 15-
41643.

 

XI.

Plaintiff asserts that through the years of incarceration he has in-
curred, he has made dilligent and continues efforts to secure his
Religious Exercise Constitutional and R.L.U.I.P.A. rights and has
met continued and sustained resistance due to the bias and prejudice
and Anti-Semetic behavior of the defendant(s) to punish him for be-
ing a Greek / Jew and Political Prisoner. S. Ct. Cases No. 20-8406,
21-40487 and 21-20444 have all been dismissed due to plaintiff's
knowledge Of political crimes commited by Gov. Rick Perry and Gov.
Gregg Abbott. This G.0.P. cover-up has sustained a continued bias
and state of punishment towards the plaintiff by the goverment to
the extent that ["all"] plaintiff's constitutional rights have been
denied him repeatedly over the corse of eight and ahalf (8-1/2) years,

which has resulted in his extreme mental anguish and emotional dur-
ess.

 

 
 

 

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The Defendant(s) all knowing of the plaintiff's innocence as well
as the fact he's always asserted he was Jewish, made no efforts to

correct, aid or help the plaintiff to prove his lineage or Jewish
race. The Defendant(s) simply continued to inflict their bias and
prejudice against the plaintiff and did everything in their power

to harm him and stop him from exercising his constitutional rights
to pratice his Jewish Religion and tenets. They contunied to deny
him all Holy Days and Celibrations, while simultaneously allowing
non-Jews to attend who never had to prove their lineage or bloodline
and knew they were not Jewish or Converted. This discremination and
cruel and unusual punishment has irrepairably harmed the Plaintiff
who states that he will never be the same, and never trust another

Jewish person as long as he lives.

XII.

PART "B'" DISCRIMINATION

Further the Plaintiff asserts that the defendant(s) with the ex-
ception of Rabbi Goldstein, the defendant(s):

Have stopped selling footware (tennis shoes) in the Inmate Commis-
sary for many months. T.D.C.J. staff allow that Inmates who have
family on the outside can purchase tennis shoes and have them sent
through the Company to the respective Inmate. The Defendant(s) will
not allow the Plaintiff to purchase his own tennis shoes via a cat-
alog. This discreminates against the Plaintiff as he has no family
member on the outside to facilitate a purchase of tennis shoes for
him. His tennis shoes have been distroyed due to use and age. It is
discrimination to allow one Inmate a way to purchase tennis shoes
and deny Plaintiff any ways or means to purchase a pair as well.
This type of discrimination is typical of the way in which the de-
fendant(s) have been treating the Plaintiff due to his being a Pol-
itical Prisoner and Jewish. The Plaintiff has continued to suf-

fer under the continued oppression caused by the Defendant(s) bias
and Anti-Semitisum. The Plaintiff now seeks relief for the torture
and cruel and unusual punishment(s) inflicted over the years and

from the abuses inflicted by the Defendant(s) hatred towards him.

 

 
 

 

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PART "A" DISCRIMINATION

Texas Dept. of Criminal Justice [T.D.C.J.] Contractor(s) Rabbi Gold-
stein and Stringfellow Chaplain Robert K. Hightower reasonably sho-
uld be aware of the departments religious programming and policies.
Executive Directive 07.29 (rev.3) Dated Nov. 1, 2018. Authority:
Tex. Gov't Code Sec. 493.001, 493.006(b), 501.001; Tex. S.C.R. 44,
75 Leg., R.S. 1997; BP-02.08: Statement of Internal Controls.

POLICY: This directive establishes the T.D.C.J. policy statement for
participation in religious programs for inmates supervisored by or

incarcerated in a T.D.C.J. operated or contracted for the use of re-
ligious activities and programs that promote public welfare. The T.D.
C.J. extends to [A]1l inmates currantly supervised by or incarcerated
in a T.D.C.J. operated or contracted facility the opportunity to

secure operation of a T.D.C.J. and which promotes the public welfare.
by the reduction of recidivism. Chaplaincy services shall provide to:

1,2 Help inmates incorporate religious beliefs and pratices into a
process of positive change which promotes public safety, reduces
recidivisum and promotes the reintegration of inmweata) in to
society.

Signed by Director; Brian Collier

AD-07.30(rev.8) January 18, 2021 RELIGIOUS PROGRAMMING

Authority: Tex. Gov't Code Sec. 493.001, 493.006(b), 493.024, 494.
001, 494.002(a), 501.001; Tex. Civ. Prac. & Rem. Code, Sec. 110.001-
-012, BP-02.08, Statement of Internal Controls.

Policy: The Texas Department of Criminal Justice [T.D.C.J.] provides
inmates oppertunities for religious programming that do not compro-
mise safety to secure and orderly operation. Participation in re-

ligious activities and attendance at [Religious Service] of worship

 

 
 

 

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is strickly voluntary . No T.D.C.J. employee, contractor or vol-
unteer shall disparage the religious beliefs of any inmate or com-

pel any inmate to make a change of faith preference.

Chaplaincy programs and services assistinmates in incorporating
religious beleifs and pratices into a process of moral rehabilitation

thus reducing recidivism and positively impacting public safety.
DEFINITION

Religious Programming includes: services, meetings, crusades and

 

activities in which inmates may participate. Inmate Request for
Religious Accommodation: (A) All inmate request for religious pro-
grams, services or accommodations shall be presented to the chap-
lain on a [I-60] See: (Exhibit "F"). When the Chaplain recieves the
[1-60] he shall (2) Interview the inmate concerning the request.

DISCRIMINATION

Lis As seen in (Exhibits "A" & "C") Torah Study or a.k.a Regular
Jewish Services for the Plaintiff is always a Christain Service
or Christain Band Pratice and allowed Christain Jews called:
Messianic or Sabbatorian.

2. Denied Admission to all Jewish Services, and forced him to
fast on Chabad Orthodox fasts, not (Reform).

The Defendant(s) have violated Plaintiff's rights according to their
own policy and programming by:

(a) Forcing him to go to Christain based religious programming.

(b) Denying Plaintiff all religious services, meetings, activities
inwhich they stated an inmate may participate in,

(c) Denied Plaintiff ("help to incorporate his religious beliefs
and practices into a process of positive change which pro-
motes public safety, reduces recidivisum and promotes the
reintegration of inmates(s) in to society as Director Brian
Collier stated (defendant).

(d) Forcing Plaintiff to fast on Orthodox fasts, not Reform.
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At no time has the T.D.C.J. Religious Directives or Progarmming out-
lined the discrimination or exculsion of the Plaintiff, yet T.D.C.J.
Contractor(s) Chaplain Robert K. Hightower and Rabbi Goldstein have
done just that as well as all the Defendant(s) who for the past eight
and ahalf (8-1/2) years have denied Plaintiff all regigious activities
or services as well as meetings and tenets, while allowing non-jews
to attend full Jewish Programming and Services. This discrimination
has harmed the Plaintiff so serverly that he has had to seek psycho-
logical help from the Stringfellow Pshchogist to help him deal with
his pain and sufferings as well as his emotional and mental anguish.
Phaintiff has been on anti-depressants for the past year and has no
other remedy other than to seek the courts help.

A D.N.A. Test would quickly allow the Plaintiff to prove he is Jewish
by (Blood) and thus not only proving he is entitled to damages and
relief for his pain and years of mental anguish and sufferings, but
also prove his entitlement to attend Jewish Religious Services, as
permited by the R.L.U.I.P.A. and the U.S. Constitutions First Amend-
ment which the Defendant(s) have been in violation of for the past
years. The Defendant(s) have intentionally and willfully refused to
abid by their own policy and programming wherein they could inflict
pain and suffering on the Defendant due to his being a political
prisoner and for filing civil actions to secure his rights. There is
no other reason as to why the Defendant(s) would deny him his Reli-
gious rights and simotaneslously allow non-jews full Jewish Religious

Services and Programming.

The State of Texas being unhappy with the Plaintiff for making YouTube
video's exposing Gov. Rick Perry and his Attorney General; Gov. Gregg
Abbott for rigging and trumping-up false allogations of retaliation

to silence Plaintiff exposing them for collusion with corporate crim-
inals who wanted to cover-up the abduction of Plaintiff's son in
exchange for political funding from said corporations during Gov.
Perry's bid to become U.S. President in 2012. See: Case No.4:18-
cv-645.

10.

 
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FORCED FASTINGS

The Plaintiff(s) are forcing all Jews to fast during many if not
all jewish tenets. However many Jews are not "Orthodox" like Rabbi
Dovid Goldstein. Conservative and Reform Jews do not all follow
the Orthodox tenets. The only fast that all Jews must recconize is
Yom Kippur which is (Torah). All other fasts are Rabbinical. Be-
cause Rabbi Goldstein is Orthodox he makes all Jews fast, because
(he) fasts and recconizes all the fasts. The Plaintiff and many
others now in the Jewish Program are Conservative and Reform. The
Plaintiff is not even allowed into Rabbi Goldstein's Jewish Pro-
gram, but still must fast on all yearly fasts times.

This is the only Rabbinical tenet Plaintiff is not just allowed,

but forced to adhere to, even though he is (Reform). The Plaintiff
objects to being forced to recconize the [Orthodox] ways and chooses
to adhere to his own Ashkenazi Reform tenets which do not recconize
"Rabbinical" fasts at all. We should not be forced to fast just
because Rabbi Goldstein is Orthodox. The Plaintiff objects to be-
ing forced to recconize the Orthodox denomination or adhere to their
rabbinical fasts. The Bible does not recconize ribbinical fasts.

G-d has never said that Jews must fast, except during Yom Kippur.
Rabbi Goldstein forces all Conservative and Reform Jews to eat

a cold sandwhich after each fast he recconizes. Plaintiff argure he
is entitled to a hot meal just like every other inmate at the pri-
son during these fasts. There are approx. six (6) Rabbinical Fasts
that are forced on the Reform and Conservative Jews each year by
Rabbi Dovid Goldstein and the other Defendant(s). The Plaintiff would
ask this Court to order the state to serve Conservative and Reform
Jews regular meals during these Orthodox Fasts and not make all

Jews suffer for his beliefs. Rabbi Goldstein wants all Jews to be
Orthodox Chabad and is forcing his ways on all Jews who do not ad-
here to such Rabbinical tenets. Reform Jews do not fast on Rabbin-
ical Orthodox Rulings, but adhere to the Bible only. (Torah). Plain-
tiff seeks relief from forced fastings.See (Exhibit "K"').

10(¢a)

 

 
 

 

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RELIEF REQUESTED

Wherefore Plaintiff request that the Court grant him the following:

["A" Issue] Religious Exercise, the Substancial Burden sustained and
blantantly imposed against the Plaintiff by the Defendant(s) caused
him extreme depression, emotional and mental anguish and caused him
to seek psychological help for his depression caused by not being
allowed to exercise his Religious Freedoms at all. This unjust punish-
ment was sustained by the Defendant(s) for over eight and ahalf (8-
1/2) years. The Defendant (s) intentionally discriminated against the
Plaintiff becuase: (a) He was a political prisoner; (b) he was Jewish
and (c) He was filing lawsuits to try and expose their prejudice and
Anti-Semetic behavior towards him. The Defendant(s) forced Plaintiff
to fight for his rights over and over and blocked him ever inch of
the way while simotaneously allowing Non-Jews to attend the Jewish

Program they denied him, being of Jewish blood, race and pratice.

XIII.

The damages were then compounded by the fact the the Plaintiff is

an ["'Actually Innocent"] who was intentionally wrongfully imprisoned
to silence his exposing Texas Govenor's Rick Perry and his Attorney
General, Texas Govenor; Gregg Abbott who were involved in collusion
and a cover-up for Corporate criminals who abducted his son, in

exchange for political fundings. The Plaintiff seek the sum of:

Seventy Thousand ($70,000.00) dollars for every year of his incar-
ceration he had to suffer without his rights, and Thirty-Five Thou-
sand ($35,000.00) dollars for each additional six (6) month period,
which to date stands at a Total of Five-Hundred and Ninty-Five Thou-
sand ($595,000.00) dollars. Compounded [X3] for the cruel and unusal
punishments inflicted by adding unjust punishments on top of other
punishments, ie "Actaul Innocence with the deprivations of all Con-
stitutional rights to obtain justice, and Religious Exercise for that
period of time and until such time as the Court ordered remedy.

11.

 
 

 

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Compounded by the now; Eight and ahalf (8-1/2) years already suf-
fered [X3] for a Total of One Million, Seven Hundred and Eighty-Five
($1,789,000.00) dollars to be added to;

["B" Issue] The discremination against the Plaintiff to purchase
suitable footware while simotaneously allowing all other Inmates sim-
ularly situated to purchase footware from the outside or outside
the prison compound. Plaintiff asks the Defendant(s) to pay an addi-
tional Ten Thousand ($10,000.00) dollars for footware discremination
etc. A Grand Total of: One Million, Seven-Hundred and Ninty-Five Thou-
sand ($1,795,000.00) dollars.

IXV.

Additionally the Plaintiff would ask the he be allowed to pay the
cost for a D.N.A. Test from Ancestry.com to prove he is Jewish as
well as any and all costs associated with obtaining his "lineage" to
satisfy any doubts as to plaintiff's entitlement to damages, if said
verification is needed or warranted by the Court or Constitution for
purposes associated with this civil action etc. and the violations
Plaintiff had to suffer both physically and mentally as well as emo-
tionally for the time period said and mentioned, plus overtures. The
Defendant(s) all violated Plaintiff's First Amendment to the U.S.
Constitution and Federal Statute 42 U.S.C. Section 2000 cc 1 et Seq.
Religious Land Use and Institutionalized Persons Act [R.L.U.I.P.A.]
as well as Constitutional rights under the Equal Protection Clause
of the Fourteenth Amendment of the United States Constitution and
the Texas Religious Freedom Restoration Act. Rabbi Goldstein, an
Agent of the T.D.C.J. and the State of Texas decision to devise, and
impliment his own policy in violation of the Plaintiff's Religious
rights and to descriminate against the Plaintiff while allowing non-
Jews to participate in Religious Jewish Services while denying the
Plaintiff all means and ways to obtain his Religious rights and pra-
tices. He has used Inmates called Field Ministers (Non-Jewish) to
lord over and deny access to the Jewish Program by refusing to order

or make Inmate Layins to attend Religious Services. Plaintiff asks

that forced fastings stop ask they are not recconized.

Lee

 
 

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These type of Inmates were banned during the Ruiz Litigations which
caused the Riots in the Texas Prison System and caused many prisoners
to lose their lives. T.D.C.J. Policy forbids any Inmate to have con-
trol over another Inmates, this would also include his coeercing Pri-
son officals to ban him from the Jewish Religious Program and or all
Jewish Holy days and Holiday Celibrations, suchas Hanukah etc. It is
the Field Minister who schedules Inmate logistics and Jewish Service
attendances. (Calvin Small) is a Non-Jew lording over the Jewish Pro-
gram and scheduling under the Stringfellow unit Chaplain; Chaplain
Hightower and Rabbi Goldstein, both who have made sure the Plaintiff
is not scheduled to attend any Jewish religious Services. This prat-
ice must stop. At a bare minimum a Inmate should have a right to face
his accusers and have them directly dictate T.D.C.J. Policy and it's

Administration.

XV.

The Plaintiff ask that the Defendant(s) be held accountable for the
punishments and undue harm they inflicted on the Plaintiff who's only
wish was to exercise his Constitutional rights to partisipate in Jew-
ish Services and tenets, a R.L.U.I.P.A. and Constitutional right he
should have always been allowed to exercise. It is no fault of the
Plaintiff that he has no family to help him obtain his lineage, that
Rabbi Goldstein maintains he must have before the Plaintiff can at-
tend any Religious services or exercise his Religious tenets, while

Rabbi Goldstein's Jewish Program in accommodating Non-Jews. As
well a Non Jew is the head cook in the Kosher Kitchen.

The Plaintiff would maintain that if the integrity of the Jewish Pro-
gram is to be maintained as Rabbi Goldstein seems to want, then all
Non-Jews should be excluded, and not Jews who have Jewish blood and
by Jewish law have full rights to the Jewish Community. Damages should
be ordered for the punishments and damages caused the Plaintiff over
the years as well as the Mental and Emotional anguish, duress and the
stress compounded by their bias and prejudice while allowing Non-Jews
full rights to participate, thus proving bias and discrimination and
Anti-Semitisum against the Plaintiff for being part Greek and (Reform)

not (Orthodox).

13.

 
 

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Respectively the Plaintiff asks this Honorable Court to award him
damages for his eight and ahalf (8-1/2) years of suffering, and for
the cruel and unsual punishments he has been forced to endure both
Physically and mentally as well as Religiously. The Plaintiff asserts
he has been irrefutably harmed by the cruel and unusual discriminations
and bias toward him by a perported Religious Rabbi who allows Non-
Jews access to a Jewish Religious Program but lords over Jews he does
not like due to their orginor Jewish Preferences who have absolute
rights to attend. The Defendant's are guilty of years or discrimina-
tion against the Plaintiff and should pay full restitution and dama-
gers as allowed by this Court.

Respectfully submitted,

~

i1cnae . eters

Dated Ap Lory 204 2023.

MICHAEL GEOFFREY PETERS NO. 2019190
STRINGFELLOW UNIT

1200 FM 655

ROSHARON, TEXAS 77583

(281) 595-3413

 
 

 

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EVIDENCE AND EXHIBITS

EXHIBIT "A"

Exhibit "A" is a prison layin to attend Jweish Torah Lessons. It is
the only event I was allowed to attend. I had to file a civil action
against the state and their agent; Rabbi Goldstein for refusing my
Jewish Religious Services, Fifth Circuit No.20-20612 & 21-20444. When
Rabbi Goldstein heard of the civil action he kicked me out of Torah
Lessons in retaliation, upon doing this I filed a prison grievance
and was then allowed Torah Lessons against, See: Exhibit "B". I was
segregated and by myself. Also See: Exhibit "C".

I filed another civil action for [Retaliation], No. 21-40483. All
Civil Actions being dismissed for non-payment etc. Later the State
and it's Administrative Inmate (Calvin Small) allowed Christain In-
mates to attend my Torah Lessions and this made me unconfortable as
I am jewish and we do not believe in Jessus Christ as the Messiah
and therefore cannot interact, thus denying me all avenues to any
type of religious tenet or community.

EXHIBIT "D" AND "E"

 

Show prior prison grievances, which the state and T.D.C.J. have re-
fused to answer. The Stringfellow Unit Grievance Department is re-
fusing to comply with their Grievance Procedures and Policies.

EXHIBITS NO. "F" AND "G"

On December 14, 2022 as I do every year I wrote an ("I-60") Prison
Request to attend Religious Services and Holy Days. Once against I
was denied and filed another grievance ("G"). Again I await their
response, but expect none as usual. They know they are in violation
of my First and Eighth Amendment rights as well as my R.L.U.I.P.A.
rights and choose to ignore my complaints and grievances.

EXHIBIT NO. “H"

Plaintiff has been diligently trying to obtain his Jewish lineage.
However he has no ways or means to do so. Plaintiff's Grandmother;
Anna Theodore is from Belarus, City of Minsk where many Askkenazi

Jews are from. She married a Greek Orthodox; Michael Theodore, but
her jewish blood is also Plaintiff's blood. An Ancestry.com D.N.A.
Test will easily prove that. Outside this fact, the Plaintiff has

or should have had R.L.U.I.P.A. and Constitutional rights to pra-

tice his religion, which the Defendant(s) all denied.

 
Case 3:23-cv-00198-G-BH Document 2 Filed 01/26/23 Page 23 0f 42 PagelD 23

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Grievance #:
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Date Due:

 

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Offender Name DBA LL COS TDC LLU E OG ede

Unit: Ch tolls Housing Assignment: LS-LZ SLE Extension Date:

Unit where incident occurred: S22 PIs Date Retd to Offender:

 

 

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You must try to resolve your problem with a staff member before you submit a formal complaint. ‘The only.exception is when

appealing the results of a disciplinary hearing. fox _* , _ fo.
Who did you talk to (name, title)? _ bli. L de Cred SW hte? O AH 2D, LOE
What was their response? fKLg Aliggure oe oe

What action was taken? QO 204 ALP se

 

 

State your grievance in the space provided. Please state who, what, when, where and the discipiinary case number if appropriate

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Appendix F
    
 
   

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Grievance Response:

Signature Authority: __ Date:

If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

 

Returned because: *Resubmit this form when the corrections are made.

 

[J |. Grievable time period has expired.
O 2. Submission in excess of | every 7 days. * OFFICE USE ONLY

O3 Cea t submitted. * Initial Submission UGI Initials:
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Grievance #:

 

(] 4. Inappropriate/Excessive attachments. * oo
Screening Criteria Used:
CO 5. No documented attempt at informal resolution. * . .
a Date Recd from Offender:

(J 6. No requested relief is stated. *
. . . . Date Returned to Offender: __ _

[J 7. Malicious use of vulgar, indecent, or physically threatening language. * are =

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8. The issue presented is not grievable. :
O ‘ P & Grievance #:

 

Cl 9. Redundant, Refer to grievance # ee _ Screening Criteria Used:

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Affect the offender’s health. OO
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1-127 Back (Revised 11-2010)
Appendix F
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Case 3:23-cv-00198-C-@ Document 2 Filed 01/26/23 r@& 27 of42 PagelD 27

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Texas Department of Criminal Justice | Grievance #: (

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Unit where incident occurred: 53 Ler LLOF olan. Extension Date:

 

 

 

 

 

You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted. You may not appeal to Step 2 with a Step I that has been returned unprocessed.

 

Give reason for appeal (Be Specific). / am dissatisfied with the response at Step I because...

 

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Appendix G
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OO 4. Inappropriate/Excessive attachments.*

CI 5. Malicious use of vulgar, indecent, or physically threatening language.

OO 6. Inappropriate.*

CGO Staff Signature:

 

 

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OFFICE USE ONLY

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Appendix G

 

 
 

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‘ g
TEXAS DEPARTMENT OF CRIMINAL JUSTICE — INSTITUTIONAL DIVISION oe 7.

INMATE REQUEST TO OFFICIAL

REASON FOR REQUEST: (Please check one)

sl

PLEASE ABIDE BY THE FOLLOWING CHANNELS OF COMMUNICATION. THIS WILL SAVE TIME, GET YOUR REQUEST TO THE
PROPER PERSON, AND GET AN ANSWER TO YOU MORE QUICKLY.

 

 

 

 

1. OI Unit Assignment, Transfer (Chairman of Classification, 5. (I Visiting List (Asst. Director of classification, Administration
Administration Building) Building)

2. I Restoration of Lost overtime (Unit Warden-if approved, it 6. O) Parole requirements and related information (Unit Parole
will be forwarded to the State Disciplinary Committee) Counselor)

3. LY Request for Promotion in Class or to Trusty Class 7. (CY Inmate Prison Record (Request for copy of record, infor-
(Unit Warden- if approved, will be forwarded to the Director mation on parole eligibility, discharge date, detainers-Unit
of Classification) Administration)

4. Clemency-Pardon, parole, early out-mandatory supervision 8. CJ Personal Interview with a representative of an outside

Board of Pardons and Paroles, 8610 Shoal Creek Blvd. agency (Treatment Division, Administration Buildin
9,
Austin, Texas 78757)
To: Stringfellow Unit Chaplin DATE: Necemher 14, 2029
(Name and title of official)

ADpress: Stringfeélow Unit

SUBJECT: State briefly the problem on which you desire assistance. .

_Dear Stringfellow Unit Chaplin [Hightower |

 

accordins ly ner the T.D.C.J. EN-07.29 and AD-07,.@0 Religious

Day Services, gly +

 

 

 

 

 

Stringfellow

No: 2019190 Unit:

med.

Michael G, Peters
A-04-08

Name:

Work Assignment:

-Living Quarters:

DISPOSITION: (Inmate will not write in this space)

yel-60 (Rev. 11-90)

 
 

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Texas Department of Criminal Justice OS eg
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OFFENDE R 3 eats
STEP 1 Gritvance FoRM cae ee aa
, 7

 

Grievance COd ¢>——peeeeeneeneens ——
Offender Name: Michael CL. Paters TDCJ #_99491496 Investigator ID #:

Unit: Housing Assignment: _s. 04208 Extension Date:

Unit where incident occurred: Stringfellow Chape] Date Retd to Offender:

 

 

 

 

 

You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearing.

Who did you talk to (name, title)? Chaplin Hightower When? 42-44-2022
What was their response? _Stated he would take care of the problem

What action was taken? —He-did_nothing

State your grievance in the space provided. Please state who, what, when, where and the disciplinary case number if appropriate

 

 

 

 

to ED-07.29, Relgious Policy Statement and AD-07.30, Religious Programming.

IT also believe I was tainted by Field Minister, Calvin Smalls indiffrence to-
wards me and his implied bias against me with the Chaplin to deny me services.
The AD-03.02, “Impermissable Inmate Conduct" and PD-22 General Rules of Con-
duct£for Gefie€.J. employees prohits unit officiers from allowing inmates,tet
abld authority over disciplin etoer inmates, et al. This is a pattern of pra-

tice on the Stringfellow Unit and has created various problems. The Pratice

 

of Administrative inmates [Turnkeysf] to lord over inmates was outlawed by
the “Ruiz™ litigations, thus AD-03.02 Impermissable Inmate Conduct / PD-22

Rule violations.

 

 

 

I-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F

 
 

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Action Requested to resolve your Complaint.

 

 

Offender Signature:

Date:

 

 

 

Grievance Response:

Signature Authority:

 

Date:

If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the dete of ihe Step 1 response.

State the reason for appeal on the Step 2 Form.
Returned because:

[7] i. Grievable time period has expired.
2. Submission in excess of 1 every 7 days. *
[1] 3. Originals not submited. *
Ci4 Inappropriate/Excessive attachnients. *
Cj 5. No documented attempt at informal resolution. *
[1] 6. No requested relief is stated. *
(117. Malicious use of vulgar, indecent, or physically threatening language. *
Td &. The issue presenied is not grievable.

r) 9. Redundant, Refer to grievance #___

*Resubmit this form when the corrections are made.

 

T} 10. llegible/Incomprehensible. *
O 11. Inappropriate. *
UGI Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

Medical Signature Authority:

 

I-127 Back (Revised 11-2010)

 

 

OFFICE USE ONLY

Initia! Submission UGI Initials:__

Grievance #:

 

Screening Criteria Used:
Date Recd from Offender: __ .

Date Returned to Offender: ___

2™*Submission

Grievance #:

UGI Initials:__

 

Screening Criteria Used: ee _
Date Recd from Offender:
Date Returned to Offender: _
3" Submission

Grievance #: |

 

UGI Initials:

Screening Criteria Used:

Date Recd from Offender:

Date Returned to Offender: __

 

 

Appendix F

 
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er ea Ba
ae oe |

 

The Jacob Rader Marcus Center
of the
AMERICAN JEWISH ARCHIVES

Dear Michael G. Peters,

I’m afraid | was unable to find any evidence about your Jewish ancestry. While | was able to
confirm your grandmother Anna was from Russia, but not where in Russia. And while | did learn her
maiden name was Littlekon or Littlekoon, | couldn’t figure out if that was a Jewish last name.

| would suggest doing further research on Anna, starting by doing two things. The first is order

Anna’s social security application, or SS-5. This would cost $30, but it can help by telling you her parents’

names and, if you’re lucky, where specifically she was born. | managed to locate Anna’s social security
number, meaning it shouldn’t be too difficult for them to find it for you. You can order the application
through this link: https://www.ssa.gov/foia/request.html

| would also suggest looking into getting Anna’s marriage record to Mike Theodore. | found an
index record that says they were married in Cass County, Minnesota on April 22, 1915, but | don’t have
the marriage record itself. For that, you would have to go to the website https://moms.mn.gov/Search
and request a copy. It will cost about 10 dollars, but it could be an important clue. Not only should it
mention who her parents were, it should also reveal who married them and where they were married.
This would help you figure out their religion, and if the particular church or congregation still exists then
you can contacting and see if they can tell you anything else.

Lastly, I’m also giving you census records for the Theodore family from 1920 to 1940, Anna’s
obituary, and information about her burial in Phoenix. Even if they don’t directly say anything about
Anna’s possible Jewish heritage, it might be interesting for you to see.

Good luck with your research!
Sincerely,

Jacob Heisler

Archival Assistant

The Jacob Rader Marcus Center
of the American Jewish Archives
3101 Clifton Ave.,

Cincinnati, OH 45220
513-487-3044
 

\\ _ Case 7123-Cv-00198-G-BH Document 2 Filed 01/26/23 Page 33 of 42 PagelD 33
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CO: bdo mtprle ; SP PETESL:
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SHO, Ab Cog Z pu -
fe - G-

 

 

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St1 fLvV

Fels

The T.D.C.J. Commissary does not salesize (12-D) tennis shoes and
thus the reason why Plaintiff had to ask the Stringfellow Unit Ad-

ministrator to help him. The Administrator knew by the message she
was answering that she was in fact just ignoring his request for
shoes and the purchase there of.

This type of total disregard to inmates requests is typical at the
Stringfellow Unit. They know the Plaintiff and they also know he is
a Political Prisoner as they continue to steal all his out-going
mail to any Media or Attorney. This has be the sorce of many a
civil action all ignored by GOP Members in the judiciary who sup-
port Gov. Rick Perry and Gov. Gregg Abbott whom the Plaintiff was
exposing.

The Stringfellow abused her position as the Unit Administrator to
use ("Deliberate Indiffrence") against the Plaintiff and refused to
take the necessary time to investigate. This is typical abuse used
by T.D.C.J. staff to discourage inmates from seeking théir rights
or asking for equal treatment and the way in which all Inmate Grie-
vances are answered at the Unit Level.

 
 

pare

Rabbi & Mrs. Dovid Goldstein

 

chabadoutreach.org

Chabad Outreach ens
-104 « * 713.774.0300 ~~ Jewish Inmate Services Texas —jewishinmates.com
11000 Fondren Rd Ste B Houston, TX 77096 * 713 ihaarieney Chabadotitreach rg/Gbwiblajacy ,
Rabbi Moishe — econ ‘ : Jewish Learning Institute chabadoutreach.org/JLI | :
» Rabbi Dovid Goldstein, Jewish Inmate Services Director “umbo Judaica of Houston jumb ofudaica.org

Rabbi Mendel Traxler, Program Director
Mrs. Shoshana Traxler, Director Jumbo Judaica

 

The Defendant Dovid Goldstein boast being the Jewish Inmate Ser-

vice Director for Jewish Inmate:»Services of Texas and is the T.D.

C.J. Contractor who ignored and prohibited the Plaintiff from at-
tending all Jewish Religious Services for the past eight and a half
(8-1/2/) years. He is the mediator T.D.C.J uses to punish those they
seek to cause harm for being a State Whistle Blower and/or Writ Writer.

He heartily disregarded all Plaintiff's request to attend Jewish
Religiods Services, while allowing Non-Jews to attend, thus proving
his discrimination and willingness to subject the Plaintiff to both
mental and emotional harm.

For the past eight and a half (8-1/2) years the Defendant has made
the Plaintiff's life "hell" by completely disregarding his rights
to Religious Services and praticing his religious tenets. His re-
fusal to help or aid the Plaintiff prove his lineage or obtain a
D.N.A. test to prove he was Jewish, proved his prejudice towards
the Plaintiff and his inability to provide Jewish Inmate Services.

 

A simple D.N.A. Test would quickly prove the Plaintiff‘is Jewish
by blood. The Plaintiff is also circumcised which all Jewish males
must be. What good is an ("Outreach") Program, if they refuse to
reachout and help a Jew obtain his proof of lineage, when he him-
self demands the Plaintiff obtain it?

He allows many Non-Jews to participate in his Jewish Program, fore-
which T.D.C.J. pays him a salery for, yet he refuses to help an in-
carcerated prisoner prove his lineage wherein he may pratice his
Jewish Religion and Tenets. The harm he has caused to Plaintiff
over the past eight and a hald (8-1/2/) years has severely impact-
ed the Plaintiff and made him suffer at his greatest time of need.
He did this to harm the Plaintiff and worked with other T.D.C.J.
employee's to prevent Plaintiff from praticing his religion. He
uses ‘Administrative Inmates" called Field Ministers as a go be-
tween to deny those inmates he does not want in the program at-
tendance. This Field Minister Calvin Small is a Non-Jew and has
never been converted.

 

Dovid Goldstein is a T.D.J.C. ("Yes Man") who does what they ask
him to do. He has caused harm to many a Jewish prisoner by ignoring
them and disallowing them into the Jewish Community and Program.
Many Jews have had to complain to the Aleph Institute about his
abuses and refusal to induct them into the Program for Services.
is 4
h 3:23-cv-00198-G-BH Document 2 Filed 01/26/23 Page 35 of 42 PagelD 35

COPY OF THE I-60 / GRIEVANCE
———————

Michael G. Peters 2019190
Stringfellow A-04-08

Chaplain Robert K. Hightower 12-18-2022
Ignored me

Refused to take any action

The Grievant wrote an (I-60) to Chaplain Hightower who by T.D.C.J. Religious
Programming Policy No. AD-07.30 was supposed to interview me and talk about
the problem, but he refused to. Since I have been on the Stringfellow Unit
for ("Kosher Meals"] I have been forced to observe Rabbi Goldstein's Orth-
odox Cha@ad regigé@bus tenets. I am a Askenic [Reform] Jew, not a Chabad Or-
thodox Jew. While Rabbi Goldstein observes (all) Jewish Fasts, Reform and
Conservative Jews do not. All fasts except Yom Kippur are "Rabbinical" and
not required by Torah (Bible). AD-07.30(rev.8) states: [No T.D.C.J. employee,
contractor or voluntee shall disparage the religious beliefs of any inmate
"or compel and inmate to make a change of faith preferences." The fasting on
Jewish (Orthodox) fast is directly against the Jewish kReform) faith prefer-
ences. I have been forced to fast on six-seven (6-7) fasts that are unsupport-
ed by the Bible (Torah). Only the Brthodox and some Conservative Jews rec-
conize all the fasts. Every Jew must recconize Yom Kippur's fast by Torah. I
would like hot meals during every other fast, just like everyone eles at the
Stringfellow Unit. Rabbi Goldstein does not have the right to impose ("his")
Jewish beliefs on all Jews. Most people in the Jewish Program are not members
of Chabad denomination and therefore would not observew(Rabbinical fasts). I
would Like regular (hot meals) during these fasts and do not wish to be forced
to become a member of the Cha@ad denomination or follow their customs. I am
an Askkennazic Reform Jew, not a Chabadbéc.
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I would Like T.D.C.J. to abide by their Program

Policies and stop forci al] Jews tg fagts on Orthodox Rabbinical Fasts.
ZY LL OYs- OP-—CZIZT

 
 

 

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Michael G. Peters #2019190
Stingfellow Unit

1200 FM 655

Rosharon, Texas 77583

U.S. Northern District Court
C/O The Clerk's office

1100 Commerce Street

Dallas, Texas 75242

RE: JURISDICTION

Dear Court Clerk

I want to file a Religious Freedom civil action. I ama Political
Prisoner who's been conspired against by the GOP and it's members
because I was exposing Gov. Rick Perry and his Attroney General;
Gregg Abbott in 2012 for being in collusion with Houston based
Corporations who bribed them to cover-up abducting my son by fab-
ercating his medical records to decieve a District Court judge.

These crimes involve RICO Anti-SLAPP, Collusion, Child Abduction,
Age. Perjury, Physical Evidence Fabercation, Jury Riggering, Trial
Rigging, Conspiracy, Thefts and many more.

I was arrested in Del Rio and extradited to Montgomery County by
members of this conspiracy and cover-ups. Part of the damages I

am seeking intails compound injuries, due to constitutional rights
deprivations. I have been accused of filing (frivolous civil actions)
by Houston based Republican Party judges who have taken bribes by
these billion dollar corporations and are stopping me from filing
civil action. The three-strikes were imposed by corrupt judges as
all civil actions filed are backed by evidence these judges are
covering-up. I want a Hearing to Present this evidence, but because
I am a Political Prisoner, the State's Politicans have total con-
trol of me and have stopped my contacting Media and Lawyers to
obtain help.

This is a very unusual case in that I am "Actually Innocent" and
have all the evidence to prove that, but again the GOP is using it's
judges to cover-up GOP crimes and involvement.

 
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I cannot present this evidence as I am being controled by state
politicans and state prison officials. I have filed numerous civil
actions, but am being denied any hearings by those involved in this
GOP cover-up.

I need to have a Hearing to present this evidence. GOP members from
Houston, Texas wherein these Corporations have control of the courts
have used Houston judges like David Hittner in the U.S. Southern
District Court and Houston, Judge Gregg Acosta in the Fifth Cir-
cuit. Actual Innocene cannot be covered-up, but they did it by
neglect etc. Not once have these courts ever considered this evi-
dence even though they all had it.

I had Texas Attorney General; Ken Paxton call me here at the String-
fellow Unit to tell me to drop my criminal complaints against these
Corporations....ee-

It's rather difficult for even an innocent person to find justice
when the courts are corrupted by Corporate money and Political Am
bition. Gov. Gregg Abbott wants to run for U.S. President as Rick
Perry did and thus must continue to keep me silenced by the denial
of all my constitutional rights and trial rigging.

My case never made it to a Supreme Court judge as Republican Clerk
Scott Harris withheld my Certiorari until it was time barred then
informed me it was dismissed. I have refiled in your court. Judge
David Horan transfered it to Houston November 14, 2022, since that
time the Southern Disrtict Court has not even acknowledge receipt
of this transfer. This is typical of this cover-up, they do not
want me to file motions or know that it was probably assigned to
Judge David Hittner again to cover-up once again.

I am pleading for help as I have never been represented by a Lawyer
who was not part of this conspiracy and cover-up. I have tried to
report it to the FBI and CIA to no avail. I am unable to fight a
Politically motivated criminal conspiracy by the GOP and it's mem-
bers, who is?

As I said I have all this evidence and can prove:

1. The Corporate Crimes being covered-up.

Zs My Actual Innocence

Se The State's involvenments in this cover-up.

4. The totalidenial of all my constitutioanl rights.

This is a continued and sustanied cover-up for RICO-Anti-SLAPP
crimes and Conspiracy by the State and it's Politicans. I would like

the one chance to support what I am saying with the evidence and
facts. Can you give this to a judge who is not a Republican?

2.

 
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I am very concerned that the Southern District Court will simply
withhold my criminal case until it's time barred or dismissed as
they are involved in the cover-up of my Actual Innocence and Corp-
orate Crimes.

Once again I am a Political Prisoner........... I am unable to con-
tact the Media or Lawyers and have filed un to (70) civil actions
seeking to file on those who are stopping me from exposing their
crimes. Not one is frivolous as I have all the evidence..... I just
cannot present it when Federal Judge's of the GOP are involved in
it's total cover-up. Due to the serious nature of these crimes and
the extend of it's cover-ups which include Supreme Court Clerk;
Scott Harris, I plead with this Court to allow me to have one (1)
Hearing to present the evidence the GOP has been involved in cover-
ing up, using State Goverment and Federal Courts to do it.

Again I am sorry I am just a Layman as most would be who have ever
experienced a GOP based RICO Crimes cover-up using State Goverment
and Federal Courts to protect the GOP's Political Canidates. from
being exposed for RICO Anti-SLAPP Crimes, Conspiracy, Child Abd-
uction etc. Most evidence is already in the courts, but new evidence
of Ken Paxton calling me in a scheduled prisoner phone call to ask
me to drop my criminal complaints exposing said Corporate Criminals
supporting the GOP's Presidential Canidates, ie Rick Perry and

Gregg Abbott. My YouTube Video's exposing Rick Perry is the reason
why State Politican's from the GOP have had me silenced by rigging

a trial in a closed door court room and disallowing me all evidence
and witness subpoenas to presnet my own defense and expose them. I
was given (35) years by a jury who did not even know the trial was
one sided and rigged. I was never allowed to make any Jury Selections.
Or submit evidence, subpoena defense witnesses proving said Corp-
orate crimes, while the State's witness was the Corporate Criminal
who abducted my son and lied to the Judge by faxing her fabercated
physical evidence.

I pray for justice and one (1) chance to show this Court this evi-
dence. I will not ask for more, but should be entitled to at least

present the evidence of a National GOP Criminal Cover-up. This
affects all Americans and all seeking justice in this country.

Respectfully Yours

Heel

Michael G. Peters / Political Prisoner
Dated: January 23, 2023

ec: File

 
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United States District Court
Southern District of Texas

ENTERED

IN THE UNITED STATES DISTRICT COURT March 21, 2022
FOR THE SOUTHERN DISTRICT OF TEXAS Nathan Ochsner, Clerk
HOUSTON DIVISION

MICHAEL G. PETERS and D.G.P.,

Plaintiffs,

v. CIVIL ACTION NO. H-22-0059

TEXAS MEDICAL BOARD,

600 On GO? 6On Goo 6On GOD COD

Defendant.
PRECLUSION ORDER
Michael G. Peters (TDCJ # 02019190) is an inmate in the Texas Department of Criminal
Justice. He is a frequent filer and has had at least 15 cases dismissed as frivolous or for failure to
state a claim on which relief can be granted. In light of Peters’s extensive history of frivolous and
abusive litigation, Peters is precluded from filing any new caGin this Districp nes he first obtains
written permission from a Judge of this District.

SIGNED on March 21, 2022, at Houston, Texas.

LW Cute

Lee H. Rosenthal
Chief United States District Judge

 
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Michael G. Peters #2019190
Stringfellow Unit

1200 FM 655

Rosharon, Texas 77583

  

  

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U.S. Nothern Dist. Court
Court Clerk

1100 Commerce Street
Dallas, Texas 75242

January 23, 2023
Dear Court Clerk

I am asking that this case be heard in this jurisdiction as said
in the other inclosed correspondnce a criminal conspiracy is at
foot due to said political criminal cover-up. I have sent the U.S.
Southern Dist. Court a check for the filing fee of Four Hundred
Dollars ($400.00), they do not want to hear this case and are

part of a criminal conspiracy to cover-up all evidence leading to
the GOP's RICO Crimes involving Rick Perry and Gov. Gregg Abbott
who in 2012 was Perry's AG. This criminal cover-up intails why

the three-strikes were imposed by it's GOP Members.

That said I await the response of the U.S. Southern Dist. Court
who rejected this case. I have asked for said permission but do
not want or exspect it. I would like this Court to take this case
to remove it from this decade old RICO- Anti-SLAPP Crimes cover-
up based out of HGouston, protecting Baylor College of Medicine
and Texas Children's Hospital Corporate Criminals who have reason
to and motive to bribe Houston's Federal judges to stop a 3.3 Bil-
lion Dollar liable suit. It's this evidence I wish to present to
this court along with this Religious Freedom deprivation civil
action to punish me for exposing Rick Perry and Gregg Abbott, both
who have ambitions to become U.S. President.

Again that said I need time to have the U.S. Southern Dist. Court
send back the filing fee wherein I can resend it to you. Or can
they simply transer it to you? This is really what I need to know.
I am a Political Prisoner who's being conspired against and re-
fued justice or a Hearing to presnt said evidence and facts.

Please advise. Inclosed is the regenerated civil action. I have
the money to pay and hope the U.S. Southern Dist. will transfer
to you, if not let me know and I will have TDCJ send it directly

to you after it's AL.

ichael G. Peters

  

 
 

Pes ET

    

Michael G. Peters #2019190
Case 3:23-c¥s00428"G*BH Docum

Rosharon, Texas 77583

U.S. NORTHERN DISTRICT COURT ee
C/O The Clerk's Office 4 ee a i
1100 Commerce Street , P oe
Dallas, Texas 75242

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